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FILED-USBC, FLS-MIA
UNITED STATES BANKRUPTCY COURT AS AUG 30 pwa:54
SOUTHERN DISTRICT OF FLORIDA
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IN THE MATTER OF:
Fidel Flamini,
CASE NO.: 18-24148-LMI
Chapter 13
Debtor
/
MOTION TO INTERVENE,

NOTICE OF OBJECTION TO COMPLIANCE
AND MOTION FOR RECONSIDERATION

Non-party New Day Miami, LLC, a Florida limited liability company (“New Day”)
hereby appears through its undersigned counsel and moves to intervene in this action, and says:

1. Prepetition, New Day purchased the subject property, located at 8010 Old Cutler
Road, Coral Gables, Florida 33146, on November 13, 2018, as summarized on the composite
printout from the Miami-Dade County Clerk of Court, attached hereto as Exhibit A.

2. The same day, New Day tendered the full purchase price, including clerk’s fees
and documentary stamps, to the Clerk of Court by bank-to-bank wire transfer.

3. On the following morming, November 14, 2018, the petition in this action was
filed, and a notice was sent to the Clerk of Court, which apparently caused the Clerk not to issue

a Certificate of Sale.

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4. Notwithstanding its interest in the property, New Day was not named or joined in
this proceeding, but was recently called by an attorney for the first mortgagee, who inquired
whether New Day objected to a cancellation of the sale, giving rise to this Motion.

5. To the best of New Day’s knowledge, its interest was never disclosed to this
Court, nor was the fact of the prepetition foreclosure sale.'

6. New Day respectfully objects to the Compliance Order to the extent that New
Day received no notice despite its interest in the subject property throughout the course of this
action.

7. Moreover, the lack of notice to New Day and the Debtor’s failure to inform the
Court about the prepetition foreclosure sale make a difference. 11 USC §1322(c)(1) provides
that:

a default with respect to, or that gave rise to, a lien on the debtor's principal

residence may be cured under paragraph (3) or (5) of subsection (b) until such

residence is sold at a foreclosure sale that is conducted in accordance with
applicable nonbankruptcy law [emphasis supplied]

8. As a number of authorities have observed, this section represents the legislative
adoption of a bright line test that disregards any post-sale state procedures for confirming the
sale and transferring title. See, e.g., Jn re Watts, 273 B.R. 471, 476 (Bankr. S.C. 2000) (This
Court adopts the reasoning of the courts that have held that the language of §1322(c)(1) is clear

and unambiguous in establishing the date of the actual foreclosure sale as the cut-off date for

curing mortgage defaults... ... The Court acknowledges that the foreclosure process may require

 

| Paragraph 9 of the Debtor’s Statement of Financial Condition filed on January 18, 2019,

identifies the foreclosure case as “pending.” In fact, a Final Judgment of Foreclosure was
entered on July 25, 2018, no appeal was taken, the sale occurred on November 13, 2018, and the
Clerk’s entry on the Docket reads: “11/14/2018 Notice of Bankruptcy Event 18-24148-LMI
PROPERTY SOLD BEFORE ORDER WAS RECEIVED.”

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steps following the auction sale in order to conclude the sale and make it effective; however, “the
statute’s focus is on the foreclosure sale having been conducted in accordance with applicable
non-bankruptcy law, not on the subsequent steps required to give that sale effect,” citing /n re
Bobo, 246 B.R. 453, 456 (Bankr. D.C. 2000)).

9. Whatever else is involved or at stake in this bankruptcy, the fact that was
apparently withheld from the Court — that there was a completed prepetition foreclosure sale of
the subject property -- should have precluded any plan relying upon modification of payments
and reinstatement of the mortgage.

WHEREFORE, New Day Miami, LLC respectfully moves to intervene in this action,
objects to the Order on Debtor’s Compliance and moves for reconsideration of the Order of
Confirmation.

Dated: August 30, 2019

Respectfully Submitted By:

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EXHIBIT A

 

 
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11/13/2018 09:15 AM ET
$840,100.00
3rd Party Bidder

Auction Type: FORECLOSURE
Case #: 2012-039682-CA-01
Final Judgment Amount: $587,185.91
Parcel ID: 03-4132-015-0040
Property Address: 8010 OLD CUTLER RD

CORAL GABLES, FL- 33143
Assessed Value: $893,147.00

Plaintiff max

bid: Hidden

Case Number: 2012-039682-CA-01 Case ID: 168025288 End Date: 11/13/2018 09:15:00 AM

Prox
Bidder ID Bid Info Bid Date/Time
51800 $5,000.00 11/07/2018 12:05:55 PM
98072 $655,000.00 14/99/2018 10:40:44 PM
99107 Not Enough Deposit $100,000.00 11/12/2018 07:49:46 PM
41317 $607,000.06 11/12/2018 08:47:33 PM
34279 $820,000.00 11/13/2018 08:09:15 AM
§280 $737,700.90 11/93/2018 08:16:08 AM
6918 $50.200.00 11/13/2018 08:23:12 AM
15050 $651,900.00 19/43/2018 08:55:29 AM
79767 $840,100.00 11/13/2018 09:03:10 AM
92472 $607,500.06 14/43/2018 99°07:04 AM

65672 $550.500.00 41/13/2018 09:07:13 AM

 

 

 

 

 

 
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Auction
Bidder ID Bid Info Bid Date/Time
Opening Bid $0.00 11/13/2018 09-41-00 AM
79767 Auto Bid $820,100.00 11/13/2018 09:03:10 AM
92472 $820,200.00 11/43/2018 06:14:35 AM
79767 Auto Bid $820,300.00 11/13/2018 09:03:10 AM
92472 $821,100.00 11/43/2018 09:12:42 AM
79767 Auto Bid $821,200.00 11/13/2018 09:03:10 AM
98072 $825,000.00 11/13/2018 09:12:43 AM
79767 Auto Bid $825,100.00 11/13/2018 09:03:10 AM
98072 $826,000.00 41/13/2018 09:13:22 AM
79767 Auto Bid $826,100.00 11/13/2018 09:03:10 AM
98072 $830,000.00 11/43/2018 09:13:52 AM
79767 Auto Bid $830,100.00 11/13/2018 09:03:10 AM
98072 $840,000.00 11/13/2018 09:14:26 AM
79767 winning bid $840,100.00 11/13/2018 09:03:10 AM
Auction Closed 11/13/2018 09:15:00:00 AM

The final bid was made by 3rd party bidder - New Day Miami, LLC

in the total amount of: $840,100.00

 

 
